 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 LETICIA AND YOVANY,
                                                                                        Civil Action
                                                   Plaintiffs,
                                                                                        No. 1:22-cv-7527
                               - v. -
                                                                                        (Garaufis, J.)
 UNITED STATES OF AMERICA,                                                              (Levy, M.J.)

                                                   Defendant.

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               MEMORANDUM OF LAW IN SUPPORT OF
 DEFENDANT’S MOTION TO TRANSFER VENUE OR, IN THE ALTERNATIVE, TO
                            DISMISS




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                                                                                July 13, 2023

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                                      PRELIMINARY STATEMENT

         Pursuant to 28 U.S.C. § 1404(a), Defendant United States of America respectfully submits

this memorandum of law in support of its motion to transfer venue to the Western District of Texas,

or, in the alternative, to dismiss pursuant Federal Rule of Civil Procedure 12(b)(1) and 12(b)(6).

         In November 2017, Plaintiff Leticia unlawfully crossed the United States-Mexico border

into Texas with her then-minor son, Yovany. 1 In accordance with the law, federal agents

apprehended Plaintiffs in Texas and placed them into detention in Texas. Over the ensuing days

in Texas, Plaintiffs were separated from one another: Leticia was referred for prosecution for

unlawful entry and subsequently held primarily in a privately run detention facility in Texas until

her eventual removal to Guatemala, while, in the interim, Yovany was transferred to the custody

of the Department of Health and Human Services (“HHS”) Office of Refugee Resettlement

(“ORR”). Yovany was housed at Southwest Key Programs Casa Kokopelli (“Casa Kokopelli”), a

privately run residential shelter in Mesa, Arizona. Plaintiffs allege that Leticia gave Yovany the

option of returning to Guatemala with her or staying in the United States; he chose the latter and,

in August 2018, opted to be transferred to long-term foster care in San Antonio, Texas. Plaintiffs

have since been reunited, following Leticia’s return to the United States in January 2020.

         Plaintiffs commenced this action solely under the Federal Tort Claims Act, 28 U.S.C.

§§ 1346(b), 2671-80 (“FTCA”), asserting claims arising out of their separation for: intentional

infliction of emotional distress (“IIED”); negligence; abuse of process; assault and battery; and

conversion. Plaintiffs filed suit in this district – despite having crossed the border in Texas, having




1
  The parties have stipulated to the use of Plaintiffs’ pseudonyms Leticia and Yovany, respectively, in this litigation,
without conceding the facts giving rise to it. See ECF No. 10.


                                                           1
been apprehended in Texas, and, most notably, having been separated in Texas. Indeed, the only

link to this district is that Plaintiffs allege that, after Leticia’s return to the United States in January

2020, they moved to this district and currently live here.

        As an initial matter, the Court should transfer this action to the Western District of Texas

under 28 U.S.C. § 1404, in the interest of justice and for the convenience of the witnesses. The

operative facts giving rise to the Government’s alleged liability took place in Texas, from

Plaintiffs’ apprehension to their separation. Predictably, numerous witnesses to those acts are

located in and around Texas. According to the Government’s preliminary assessment, U.S.

Customs and Border Protection (“CBP”) – the agency that apprehended and detained Plaintiffs –

has identified 10 individuals who may have knowledge of the facts alleged in Plaintiffs’ complaint;

five work in Texas, and three others work near the southern border. Likewise, U.S. Immigration

and Customs Enforcement (“ICE”) has also confirmed that the likely witnesses to facts relevant to

Leticia’s time in ICE custody are in Texas. And because Texas is the location where the putatively

tortious conduct allegedly occurred, Texas state law would likely apply. The U.S. District Court

for the Western District of Texas would be more familiar with Texas law as well as any facts or

issues common to the other cases pending there. No allegedly tortious conduct occurred in New

York. Texas – not New York – is the center of gravity for this FTCA action, as another New York

district court has recently noted under similar circumstances in transferring that suit. See W.P.V.

v. United States, No. 21-cv-4436 (JPC), 2023 WL 1991426 (S.D.N.Y. Feb. 14, 2023).

        In the alternative, this action should be dismissed in its entirety, or in part, on multiple,

independent grounds. The United States does not defend the wisdom of the policy choices that led

to family separations during the previous Administration. But Congress designed the FTCA as a

limited waiver of the Government’s sovereign immunity, which does not encompass the conduct




                                                     2
challenged by Plaintiffs. First, the FTCA’s “discretionary function exception” (“DFE”), set forth

at 28 U.S.C. § 2680(a), precludes Plaintiffs’ claims insofar as they arise from their apprehension

for illegal entry, Leticia’s detention, and decisions as to Yovany’s placement and timing of release

from ORR custody, because these were discretionary decisions susceptible to policy analysis. See

Part II. B. Second, regardless of whether the DFE applies, the FTCA’s exception for actions taken

while executing the law, see 28 U.S.C. § 2680(a), bars Plaintiffs’ claims arising from Yovany’s

transfer to ORR custody because the law required such transfer. See Part II.C. Third, the

independent contractor doctrine—which excludes from the FTCA’s limited sovereign immunity

waiver torts committed by an independent contractor—bars Plaintiffs’ negligence and IIED claims

to the extent they challenge conduct at privately owned and operated facilities where Plaintiffs

were housed following their separation. See Part II.D. Fourth, Plaintiffs’ abuse of process and

negligence claims are barred for lack of jurisdiction owing to the lack of the private analogue

required under 28 U.S.C. § 2674; the FTCA’s limited waiver of sovereign immunity does not apply

where, as here, a private person would not be liable under state law for the alleged tortious conduct.

See Part II.E Fifth, the FTCA’s exceptions also bar the conversion claim. See Part II.F.

       Even if this Court, arguendo, had jurisdiction over some portion of this suit, Plaintiffs fail

to state any FTCA claim because, under Texas law (and, as relevant, Arizona law), their alleged

tort claims are insufficiently pleaded and fail as a matter of law.

       In sum, transfer to the Western District of Texas or dismissal is warranted.

                          FACTUAL AND LEGAL BACKGROUND

I.     Statutory and Legal Framework

       A.      Legal Framework for Noncitizens Entering the Country

       Noncitizens arriving in the United States, including those who do not arrive at a designated

port of entry, are generally considered “applicant[s] for admission” and must be “inspected by


                                                  3
immigration officers” upon their arrival. 8 U.S.C. §§ 1225(a)(1), (3). When a noncitizen enters the

United States outside an official port of entry, he or she commits a violation of federal criminal

law. See 8 U.S.C. § 1325(a) (imposing fines and imprisonment up to 6 months for a first offense

and up to 2 years for a subsequent offense). Noncitizens – including both adults and any

accompanying children – who unlawfully enter the country may also be subject to detention and

removal from the United States. See, e.g., 8 U.S.C. §§ 1225(b), 1226, 1357.

       Federal law also imposes requirements for the care and custody of minor children who

enter the United States without authorization. In particular, ORR is tasked with “the care and

placement of unaccompanied alien children who are in Federal custody by reason of their

immigration status.” 6 U.S.C. §§ 279(a), (b)(1)(A); see also 8 U.S.C. § 1232(b)(1). An

“unaccompanied alien child” (“UAC”) is defined as someone who: (1) “has no lawful immigration

status in the United States,” (2) “has not attained 18 years of age,” and (3) “with respect to whom

. . . there is no parent or legal guardian in the United States [or] no parent or legal guardian in the

United States is available to provide care and physical custody.” 6 U.S.C. § 279(g)(2).

       Pursuant to the Trafficking Victims Protection Reauthorization Act (“TVPRA”), an agency

must ordinarily “transfer the custody of [a] child to [ORR] not later than 72 hours after determining

that such child is an unaccompanied alien child.” 8 U.S.C. § 1232(b)(3). Once a UAC has been

transferred to ORR custody, the child must “be promptly placed in the least restrictive setting that

is in the best interest of the child” considering the child’s “danger to self, danger to the community,

and risk of flight.” Id. § 1232(c)(2)(A). UACs may not be released “upon their own recognizance.”

6 U.S.C. § 279(b)(2)(B). Rather, ORR is required to “make[] a determination that the proposed

custodian is capable of providing for the child’s physical and mental well-being” before placing a

child with any individual or entity. 8 U.S.C. § 1232(c)(3)(A).




                                                  4
       B.      The Flores Agreement

       In 1996, the federal government entered into a settlement agreement establishing a

“nationwide policy for the detention, release and treatment of minors” (whether or not

unaccompanied by parents) “in the custody of [federal immigration authorities]” (the “Flores

Agreement”). Flores v. Lynch, 828 F.3d 898, 901 (9th Cir. 2016). Under the Flores Agreement,

the federal government must expeditiously transfer any minor who cannot be released from

custody to a non-secure, licensed facility. Flores, 828 F.3d at 902-03.

       Significantly, the Flores Agreement applies only to minors; it does not concern or

contemplate the “housing of family units and the scope of parental rights for adults apprehended

with their children,” nor does it “contemplate releasing a child to a parent who remains in custody,

because that would not be a ‘release.’” Flores, 828 F.3d at 906. While the Flores Agreement does

give preference to the release of minors to a parent, this “does not mean that the government must

also make a parent available; it simply means that, if available, a parent is the first choice.” Id. at

908. Nor does it provide any rights to adult detainees, including any rights of release. Id.

       C.      Executive Branch Enforcement

       The Department of Homeland Security (“DHS”), of which CBP and ICE are components,

has responsibility for border security, including enforcement of U.S. laws as to unlawful

immigration. See Border Security, available at https://www.dhs.gov/topics/border-security. CBP

agents patrolling the country’s borders are organized into 129 stations within 22 sectors. See CBP

Snapshot, available at https://www.cbp.gov/sites/default/files/assets/documents/2023-Feb/fy22-

cbp-snapshot.pdf. These stations and sectors may have distinct areas of operational focus. See,

e.g., Border Patrol Overview, available at https://www.cbp.gov/border-security/along-us-

borders/overview (describing examples of location-specific Operations).




                                                  5
       The enforcement of federal immigration laws became the subject of several nationwide

policy directives beginning in 2017. First, Executive Order 13767, 82 Fed. Reg. 8793, 2017 WL

388888 (Jan. 30, 2017) (“EO 13767”), directed DHS to “ensure the detention of aliens

apprehended for violations of immigration law pending the outcome of their removal proceedings

or their removal from the country to the extent permitted by law.” EO 13767 § 6. In addition, EO

13767 directed DHS to exercise its parole authority “only on a case-by-case basis in accordance

with the plain language of the statute” and only when an individual “demonstrates urgent

humanitarian reasons or a significant public benefit derived from such parole.” EO 13767 § 11(d).

Second, in April 2017, the Department of Justice issued guidance directing federal law

enforcement to prioritize the prosecution of several immigration-related offenses, including

unlawful entry under 8 U.S.C. § 1325 and unlawful reentry under 8 U.S.C. § 1326. See U.S. DOJ

Memo. on Renewed Commitment to Criminal Immigration Enforcement, available at

https://www.justice.gov/opa/press-release/file/956841/download.

       In April 2018 (approximately five months after the separation at issue in this case), then-

Attorney General Sessions issued a “Memorandum for Federal Prosecutors along the Southwest

Border,” https://www.justice.gov/opa/press-release/file/1049751/download, directing federal

prosecutors – not DHS, which is not a component of DOJ – “to the extent practicable, and in

consultation with DHS – to adopt immediately a zero-tolerance policy for all offenses referred for

prosecution under section 1325(a),” which, as described above, imposes criminal liability for

unlawful entry into the United States. In May 2018, then-DHS-Secretary Nielsen directed DHS

operational components at the border, to the extent practicable, to refer for criminal prosecution

all those who illegally cross the border. See C.M. v. United States of America, No. 19-cv-05217

(D. Az.), Dkt. No. 379-13 at 22-26, dated May 4, 2018.




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           Following Secretary Nielsen’s direction, DHS referred adults who had unlawfully crossed

the southern border for prosecution. Minor children traveling with those adults were transferred to

ORR custody, consistent with the TVPRA. See generally 6 U.S.C. § 279; 8 U.S.C. § 1232(b)(3).

II.        Relevant Factual Allegations and Procedural Background

           A.       Plaintiffs Unlawfully Cross the Southern Border into Texas

           Leticia and her son, Yovany—currently an adult but alleged to have been 15 at the time of

separation in 2017—allege that they are Guatemalan nationals. Cplt. 2 ¶¶ 12, 23. In November

2017, Plaintiffs unlawfully entered the United States. Id. ¶ 24. Plaintiffs allege that they crossed

the southern border into the United States near Presidio, Texas on or about November 20, 2017.

Id. ¶ 24; Declaration of Mark G. Davies, dated July 12, 2023 (“Davies Decl.”) ¶ 9. Shortly

thereafter, Plaintiffs were apprehended by CBP agents. Id. Leticia acknowledged to CBP officers

that they had unlawfully entered the United States and they did not have documents allowing them

to be lawfully present in the United States. See Davies Decl. ¶ 9.

           Because they had unlawfully entered the United States, Plaintiffs were apprehended and

transported to a CBP station in Presidio, Texas. See id. ¶ 9. Leticia was referred for prosecution

under 8 U.S.C. § 1325, which, as described above, makes it a criminal offense to unlawfully enter

the United States. See Cplt. ¶ 36; Davies Decl. ¶ 10.

           B.       Plaintiffs Are Separated in Texas

           As Leticia was referred for criminal prosecution, Yovany was designated a UAC pursuant

to 6 U.S.C. § 279(g)(2). See Davies Decl. ¶ 11; see also 8 U.S.C. § 1232(a)(3) (describing process

for custody of unaccompanied children “who are apprehended at the border of the United States

or at a United States port of entry”). Consequently, Plaintiffs were separated from one another on



2
    All references herein to “Cplt.” refer to the Complaint filed in this action, No. 22-cv- 7527 (NGG), at Dkt No. 1.



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or about November 21, 2017, while they remained in CBP custody in Texas. See Cplt. ¶ 29; accord

Davies Decl. ¶ 12. 3

           Leticia was transferred into ICE custody and held at the privately owned and operated West

Texas Detention Facility in Sierra Blanca, Texas. See Davies Decl. ¶ 15; Declaration of Alfonso

Ramirez, dated July 12, 2023 (“Ramirez Decl.”) ¶ 7; Cplt. ¶ 34. Leticia remained in Texas during

the entirety of the relevant period. See Davies Decl. ¶¶ 9, 15-16; Ramirez Decl. ¶¶ 7-9.

           Yovany was transferred to ORR custody on or about November 22, 2017. See Declaration

of James De La Cruz, dated July 13, 2023 (“De La Cruz Decl.”), ¶ 3; see also Cplt. ¶¶ 55, 59.

Specifically, Yovany was flown from a CBP facility in Texas to Arizona, where he was transported

to Casa Kokopelli, an ORR-funded charitable organization that provides care and shelter for

UACs. See De La Cruz Decl. ¶ 3; see also Cplt. ¶ 58. He remained at Casa Kokopelli until he was

transferred to Compass Connections Long Term Foster Care Program in San Antonio, Texas in

August 2018, having elected not to return to Guatemala with his mother, who was removed from

the United States in June 2018. See Cplt. ¶ 80; accord De La Cruz Decl. ¶ 4. In February 2020,

Yovany was released from ORR custody to be reunified with Leticia, who had returned to the

United States. See De La Cruz Decl. ¶ 5. Plaintiffs now live in Brooklyn, New York. Cf. Cplt. ¶ 13.

           C.       Plaintiffs Commence this Action in New York

           Plaintiffs commenced this FTCA action alleging five torts stemming from their separation

from one another in Texas: (i) IIED; (ii) negligence; (iii) abuse of process; (iv) assault and battery;

and (v) conversion. See Cplt. (Counts I – V).




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    The criminal complaint against Leticia was subsequently dismissed. See Cplt. ¶ 37; Davies Decl. ¶ 15.



                                                           8
                                             ARGUMENT

I.      TRANSFER IS WARRANTED UNDER 28 U.S.C. § 1404(a)

        Although Plaintiffs unlawfully entered the United States in Texas, were apprehended in

Texas, were detained in Texas, and were separated in Texas, Plaintiffs commenced this action in

the Eastern District of New York. No part of any tort is alleged to have occurred here; Plaintiffs’

only connection to this district is that they allegedly currently reside here. The Court should

transfer this case to the Western District of Texas under 28 U.S.C. § 1404(a).

        A.      Legal Standard Governing Motions Pursuant to 28 U.S.C. § 1404

        Courts are authorized, pursuant to 28 U.S.C. § 1404(a), to transfer an action to a more

suitable venue in the interest of justice:

        For the convenience of parties and witnesses, in the interest of justice, a district
        court may transfer any civil action to any other district or division where it might
        have been brought or to any district or division to which all parties have consented.

28 U.S.C. § 1404(a).

        The party seeking to transfer venue in those circumstances must show that transfer is

warranted by clear and convincing evidence. See N.Y. Marine & Gen. Ins. Co. v. Lafargee N. Am.,

599 F.3d 102, 114 (2d Cir. 2010). A court may consider affidavits and materials outside of the

pleadings on a motion to transfer venue. See Citibank, N.A. v. Affinity Processing Corp., 248 F.

Supp. 2d 172, 176 (E.D.N.Y. 2003); see also Mohsen v. Morgan Stanley & Co., No. 11-cv-6751,

2013 WL 5312525, at *3 (S.D.N.Y. Sept. 23, 2013) (collecting cases).

        In assessing whether to transfer venue, courts generally apply a two-part test: (i) could the

action have been brought in the proposed forum, and (ii) does the balance of convenience and

justice favor transfer. See Wald v. Bank of Am. Corp., 856 F. Supp. 2d 545, 548-49 (E.D.N.Y.

2012); accord Burgos v. United States, No. 16-cv-7091 (RA), 2017 WL 2799172, at *2 (S.D.N.Y.

June 27, 2017); see also W.P.V., 2023 WL 1991426, at *3.


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       B.      This Action Could Have Been Commenced in the Western District of Texas

       The first part of the § 1404(a) test is satisfied: it is beyond dispute that this action could

have been commenced in Texas because the operative facts took place there. Wald, 856 F. Supp.

2d. at 548-49. As noted above, Plaintiffs allege that federal officials apprehended, detained, and

separated them in Texas. See generally Cplt., ECF No. 1; see also Davies Decl. ¶¶ 9-16. That

separation gives rise to all of Plaintiffs’ claims. In other words, Plaintiffs’ separation from one

another in the Western District of Texas is the “act or omission complained of” for purposes of

venue, such that under the FTCA’s venue provision, see 28 U.S.C. § 1402(b), this FTCA action

could have been commenced there. See WPV, 2023 WL 1991426, at *3.

       C.      The Balance of Factors Strongly Favors Transferring This Matter to Texas

       The second prong of the § 1404(a) test is also satisfied because the convenience of the

parties and witnesses and the interest of justice warrants transfer. Wald, 856 F. Supp. 2d. at 548-

49. In assessing that question, courts frequently look to nine factors: (1) the convenience of the

witnesses; (2) the locus of operative facts; (3) the convenience of the parties; (4) the plaintiff’s

choice of forum; (5) the location of relevant documents and physical evidence; (6) the availability

of process to compel attendance of unwilling witnesses; (7) the relative means of the parties; (8)

the forum’s familiarity with the governing law; and (9) judicial economy and the interests of

justice. Delta Air Lines, Inc. v. Assoc. of Flight Attendants, CWA, 720 F. Supp. 2d 213, 217

(E.D.N.Y. 2010); see also WPV, 2023 WL 1991426, at *3 Of those, the convenience of the

witnesses “is typically regarded by courts as the most important factor in considering a motion to

transfer pursuant to § 1404(a).” Delta, 720 F. Supp. 2d at 218. Even so, “[t]here is no strict formula

for the application of these factors, and no single factor is determinative.” Rindfleisch v. Gentiva

Health Sys., Inc., 752 F. Supp. 2d 246, 250-51 (E.D.N.Y. 2010).




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         The factors weigh heavily towards transfer. Indeed, in this circuit, the Honorable John P.

Cronan of the Southern District of New York recently reached the same conclusion under similar

circumstances. See W.P.V., 2023 WL 1991426. There, as here, the plaintiffs commenced an action

under the FTCA for claims arising from their separation at the southern border, in that case near

El Paso, Texas. Id. at *1. Like Plaintiffs here, the plaintiffs in W.P.V. sued in New York. However,

there, unlike here, certain events resulting from the separation did take place in New York because

W.P.V.’s son was transferred to and safely housed at a facility in the Bronx, New York, operated

by an ORR contractor before being reunited with his parent. Id. The Government moved to transfer

to the Western District of Texas, arguing that “Plaintiffs’ entry into the United States, their

detention following entry, their subsequent separation, and [father] W.P.V.’s confinement and

criminal prosecution” all occurred in Texas, such that most witnesses would be located there. Id.

The court agreed, finding that transfer was warranted because Texas was the “center of gravity of

the litigation.” Id. at *4. This Court should find the same here and transfer this action to the

Western District of Texas, where the center of gravity of this suit is located. See Viacom Int’l, Inc.

v. Melvin Simon Prods., Inc., 774 F. Supp. 858, 868 (S.D.N.Y. 1991) (“The core determination

under § 1404(a) is the center of gravity of the litigation, a key test of which is the convenience of

witnesses. Courts routinely transfer cases when the principal events occurred, and the principal

witnesses are located, in another district.” (citations omitted)). 4

                   1.       The Convenience of the Witnesses Strongly Favors Transfer




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  But see F.C.C. v. United States, No. 22-cv-5057 (NRM) (JMW) (E.D.N.Y.), June 15, 2023 Docket Entry (in family
separation case, denying motion for discretionary transfer without prejudice to renew in light of, inter alia, current
factual record). In F.C.C., unlike here, the minor plaintiff had been housed for approximately four months at an
ORR-funded shelter in this district, and, unlike here, plaintiffs had argued that tortious conduct occurred in this district
and that relevant witnesses would be located in this district. See generally Dkt. No. 25.



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       “Courts typically regard the convenience of witnesses as the most important factor in

considering a § 1404(a) motion to transfer.” Schuyler v. Sun Life Assurance Co., No. 20-cv-10905

(RA) (BCM), 2021 WL 5853991, at *3 (S.D.N.Y. Dec. 9, 2021) (cleaned up); accord Rindfleisch,

752 F. Supp. 2d at 252 (collecting cases). The aim of this factor is not to tally the number of

witnesses in each proposed forum, but to assess the materiality of their anticipated testimony. See

Williams v. Swack, No. 12-cv-1552 (CBA), 2013 WL 5423791, at *4 (E.D.N.Y. Sept. 26, 2013);

see also Neil Bros. Ltd. v. World Wide Lines, Inc., 425 F. Supp. 2d 325, 329 (E.D.N.Y. 2006).

       The Government anticipates that many of the most material witnesses will be located in or

close to the Western District of Texas. That is unsurprising. Plaintiffs allege that they unlawfully

crossed the United States-Mexico border in Texas, where they were apprehended by CBP agents.

See Cplt. ¶ 24. Plaintiffs were detained together in Texas and allegedly separated from each other

by federal agents in Texas. Davies Decl. ¶¶ 9-13. And while Yovany was transferred from Texas

to a non-governmental facility in Arizona, Cplt. ¶ 59, Leticia remained in detention in Texas until

her eventual removal to Guatemala, id. ¶¶ 39, 80.

       Based upon those allegations, the federal officials who would likely be called as witnesses

in this action are predominantly located in and around Texas. Indeed, CBP records have

preliminarily identified ten agents and supervisors who were involved in the apprehension and

detention of Plaintiffs in Texas. See Davies Decl. ¶ 17. Of those, five are currently assigned to

stations in Texas. Id. Three others are located at or near the southern border. Id. Similarly, ICE’s

records reflect that those individuals likely to have knowledge of Leticia’s detention in ICE

custody are located in Texas. See Ramirez Decl. ¶ 12. Requiring such a multitude of witnesses to

travel to New York (potentially multiple times) would be both costly and inefficient. It would also

take numerous federal officers away from their enforcement and processing duties for days at a




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time. See Davies Decl. ¶ 17. Under these circumstances, transfer would manifestly aid the

convenience of the witnesses. See W.P.V., 2023 WL 1991426, at *4.

       By contrast, there appear to be few, if any, witnesses located in New York, other than

Plaintiffs themselves. And while courts sometimes presume that government employees are

considered “available” throughout the country, that presumption carries less weight where none of

the government employees with personal knowledge of the relevant facts is named as an individual

defendant. Barry v. United States, No. 21-cv-7684 (BCM), 2022 WL 4467504, at *6 (S.D.N.Y.

Sept. 26, 2022); see also W.P.V., 2023 WL 1991426, at *4. Nor does that presumption mitigate

the Government’s burden to produce numerous witnesses for deposition and trial in New York.

Accordingly, this factor weighs strongly in favor of transfer.

               2.      The Operative Facts Occurred in Texas, Favoring Transfer

       “The locus of the operative facts is a primary factor in determining a § 1404(a) motion to

transfer.” Alpha Indus., Inc. v. Alpha Clothing Co., LLC, No. 21-cv-87 (KPF), 2021 WL 2688722,

at *6 (S.D.N.Y. June 30, 2021). The locus of operative facts and the location of material witnesses

“bear on where the ‘center of gravity’ of the action rests.” Id.; see also Guccione v. Harrah’s Mkt’g

Servs. Corp., No. 06-cv-4361 (PKL), 2009 WL 2337995, at *8 (S.D.N.Y. July 29, 2009) (“Courts

traditionally give significant weight to the locus of the operative facts of a case, and routinely

transfer cases when the principal events occurred in another district and the principal witnesses are

located there.” (internal citations omitted)). “To determine where the locus of operative facts lies,

courts look to the site of events from which the claim arises.” Guccione, 2009 WL 2337995, at *8

(internal quotations omitted). In this action, which arises from Plaintiffs’ unlawful entry into the

United States at the Texas border and their ensuing separation in Texas, Texas is the locus of

operative facts. As the court in W.P.V. found under analogous circumstances, “the operative events




                                                 13
that involve the Government and trigger its potential liability under the FTCA predominantly, if

not entirely, occurred in the Western District of Texas.” 2023 WL 1991426, at *6.

                3.      The Convenience of the Parties Is a Neutral Factor

        Texas would be the more convenient forum for Defendant given that the operative facts

occurred in Texas, and many of the relevant federal witnesses with knowledge of the facts would

be located in or near Texas. See Davies Decl. ¶ 17; Ramirez Decl. ¶ 12. Transferring this action to

Texas would therefore allow those individuals to provide testimony without the need for

significant additional travel or time away from their work at the border. See Davies Decl. ¶ 18.

        While Plaintiffs live in this district, and it would thus presumably be more convenient for

them to litigate in this district, that fact alone does not defeat transfer, particularly in light of the

centrality of Texas to this action. See, e.g., Barry, 2022 WL 4467504, at *5-6 (transferring FTCA

action arising from minor’s immigration-related detention to Texas, where relevant events

occurred and where government witnesses were located, notwithstanding the fact that plaintiff

subsequently moved to New York, lived there for over two years, and retained residency in New

York); Larca v. United States, No. 11-cv-3952 JMF, 2012 WL 6720910, at *3 (S.D.N.Y. Dec. 16,

2012) (transferring FTCA medical malpractice action to forum where the alleged misconduct

primarily took place and rejecting plaintiff’s argument that his forum choice ought to be

dispositive, because “little or nothing connects this case to New York other than Plaintiff’s

domicile”); Burgos v. United States, No. 16-cv-7091 (RA), 2017 WL 2799172, at *3 (S.D.N.Y.

June 27, 2017) (same).

                4.      The Plaintiffs’ Choice of Forum Has Diminished Weight Here

        A plaintiff’s choice of forum is ordinarily entitled to some deference; however, the

significance of this factor is considerably diminished where, as here, the acts or omissions

purportedly giving rise to liability occurred elsewhere. See, e.g., Rindfleisch, 752 F. Supp. 2d at


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251 (collecting cases); see also W.P.V., 2023 WL 1991426, at *7 (explaining that deference to

plaintiffs’ choice of forum is “significantly diminished where, as here, the operative facts have no

connection to the chosen district.” (internal quotations omitted)). In addition, courts ascribe this

factor less weight than in the context of a forum non conveniens motion because the result is simply

the transfer of venue, not dismissal of the complaint. See Jones v. U.S., No. 02-cv-1017(JG), 2002

WL 2003191, at *3 (E.D.N.Y. Aug. 26, 2002).

       The Eastern District of New York is not the district where the acts or omissions complained

of took place. As a result, Plaintiffs’ choice of forum is entitled to diminished weight, and the

Court should not ascribe it much deference. See W.P.V., 2023 WL 1991426, at *7; Barry, 2022

WL 4467504, at *5-6; Larca, 2012 WL 6720910, at *3; Burgos, 2017 WL 2799172, at *3.

               5.      The Availability of Compulsory Process Favors Transfer

       Because a subpoena may only command a person’s attendance at trial or a deposition

“within 100 miles of where the person resides, is employed, or regularly transacts business in

person,” Fed. R. Civ. P. 45(c)(1), the Court must consider whether transfer will have an impact on

its ability to compel the attendance of unwilling witnesses. Hernandez, 761 F. Supp. at 990. Here,

many of the witnesses with firsthand knowledge of Plaintiffs’ allegations work in or near Texas,

where Plaintiffs’ separation occurred, which is more than 100 miles from the Eastern District of

New York. See Davies Decl. ¶ 17; Ramirez Decl. ¶ 12. And while the Court could compel current

federal employees to travel from Texas to New York, the allegations here are roughly five years

old, and federal employees with knowledge of the facts could in the future leave government

service. If that were to happen, the Court would be unable to compel those witnesses to attend trial.

Additionally, to the extent non-governmental witnesses—including employees of independent

contractors—continue to reside in Texas, this Court would likewise be unable to compel their

attendance at trial. As a result, this factor favors transfer. See Hernandez, 761 F. Supp. at 990


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(finding that availability of compulsory process favored transfer where most non-party witnesses

resided in Florida rather than New York).

               6.      The Means of the Parties Is a Neutral Factor

       The relative means of the parties is ordinarily not considered unless litigating in the

proposed forum would be “prohibitively expensive” or “unduly burdensome” to Plaintiffs’

finances. Rindfleisch, 752 F. Supp. 2d at 260-61; see also Alpha Indus., 2021 WL 2688722, at *10

(“A party arguing for or against a transfer because of inadequate means must offer documentation

to show that transfer (or lack thereof) would be unduly burdensome to his finances.”). Plaintiffs

have made no such claim, and notably, Plaintiffs are represented by a large international law firm

with three separate offices in Texas. See https://www. quinnemanuel.com/ offices/.

               7.      The Forum’s Familiarity with Governing Law Favors Transfer

       Under the FTCA, the court must apply the substantive law of the state where the alleged

tortious act or omission occurred. See 28 U.S.C. § 1346(b); see also FDIC v. Meyer, 510 U.S. 471,

478 (1994) (“[W]e have consistently held that § 1346(b)’s reference to the ‘law of the place’ means

law of the State – the source of substantive liability under the FTCA.”). As noted above, Plaintiffs’

purported claims arise from their separation from one another in Texas, not any tort in New York.

Consequently, Texas law would presumably apply. See W.P.V., 2023 WL1991426, at *7

(explaining that this factor favored transfer where court “would most likely apply Texas tort law

to Plaintiffs’ claims against the Government concerning their initial apprehension, detention, and

separation – all of which occurred in Texas.”). While this Court is, of course, not precluded from

applying Texas law, a federal court sitting in Texas would have more familiarity doing so. See

Jones, 2002 WL 2003191, at *4 (transferring matter where “[a] federal district court sitting in

Georgia would certainly be more familiar with Georgia law than a district court sitting in New

York.”); accord Barry, 2022 WL 4467504, at *7 (noting that transfer to Texas would be “more


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efficient” where Texas law applied). Thus, this factor favors transfer.

                  8.       Judicial Economy and the Interests of Justice Favor Transfer

         Finally, courts consider whether, based on the totality of the circumstances, the interests of

justice and judicial economy support transfer. Courts often find that this factor favors transfer

when a “case is still in its early stages and minimal discovery ha[s] taken place.” Neil Bros.,

425 F. Supp. at 334; accord Barry, 2022 WL 4467504, at *8 (noting that there would be “little

loss in judicial economy” by transferring action because the case was at its “earliest stages.”). In

addition, the interests of justice are better served by transferring this action to its center of gravity,

where the operative facts took place and where many witnesses are likely to be found. See Alpha

Indus., 2021 WL 2688722, at *8. This factor therefore favors transfer. 5

II.      IN THE ALTERNATIVE, DISMISSAL IS WARRANTED FOR LACK OF
         SUBJECT MATTER JURISDICTION

         Were the Court not to transfer this action, it should be dismissed for lack of subject matter

jurisdiction. The current Administration has disavowed policies during the prior Administration

that resulted in the separations of families. This case, however, arises from a separation that

occurred prior to the adoption of those policies. And, in any event, Congress has not waived the

United States’ sovereign immunity with respect to claims arising from those policies.

         “It is ‘axiomatic’ under the principle of sovereign immunity ‘that the United Sates may not

be sued without its consent and that the existence of consent is a prerequisite for jurisdiction.’”

Adeleke v. United States, 355 F.3d 144, 150 (2d Cir. 2004) (quoting United States v. Mitchell, 463

U.S. 206, 212 (1983)) (collecting cases); see also Dep’t of Army v. Blue Fox, Inc., 525 U.S. 255,



5
 With the rise of electronic discovery, courts in evaluating transfer motions have recently concluded that the location
of paper documents and databases “bears little relationship to the ease or difficulty of conducting discovery.” Barry,
2022 WL 4467504, at *6. This factor is therefore neutral in the transfer analysis. See Monfried v. Sigma Fin. Corp.,
No. 15-cv-2806 (VSB), 2016 WL 9724977, at *4 (S.D.N.Y. June 14, 2016).



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260 (1999) (“‘Absent a waiver, sovereign immunity shields the Federal Government and its

agencies from suit.’” (quoting FDIC v. Meyer, 510 U.S. 471, 475 (1994))). The waiver “must be

‘unequivocally expressed’ in statutory text, and cannot simply be implied.” Adeleke, 355 F.3d at

150 (quoting United States v. Nordic Vill., Inc., 503 U.S. 30, 33 (1992)). Even when the United

States does waive its immunity from suit, “limitations and conditions upon which the Government

consents to be sued must be strictly observed, and exceptions thereto are not to be implied.”

Lehman v. Nakshian, 453 U.S. 156, 161 (1981); see Nordic Vill., Inc., 503 U.S. at 33-34 (citations

and quotation marks omitted) (stating that waivers of sovereign immunity “must be unequivocally

expressed” and are “construed strictly in favor of the sovereign”).

       A.      Legal Standard Governing Motions Pursuant to Fed. R. Civ. P. 12(b)(1)

       A case is properly dismissed for lack of subject matter jurisdiction under Fed. R. Civ. P.

12(b)(1) when “the district court lacks the statutory or constitutional power to adjudicate it.’”

Makarova v. United States, 201 F.3d 110, 113 (2d Cir. 2000). In reviewing a motion to dismiss for

lack of subject matter jurisdiction under Fed. R. Civ. P. 12(b)(l), the court must accept all material

factual allegations in the complaint as true but should not draw inferences favorable to the plaintiff.

Lihua Jiang v. Clinton, No. 08-cv-4477, 2011 WL 5983353, at *2 (E.D.N.Y. Nov. 28, 2011)

(Garaufis, J.). The plaintiff bears the burden of showing, by a preponderance of the evidence, that

the court has subject-matter jurisdiction over his or her claims. Makarova, 201 F.3d at 113.

       B.      The Discretionary Function Exception Bars Plaintiffs’ Claims

       In enacting the FTCA, Congress consented to a limited waiver of sovereign immunity, see

Coulthurst v. United States, 214 F.3d 106,108 (2d Cir. 2000), while specifically carving out

exceptions for which sovereign immunity has not been waived, see 28 U.S.C. § 2680. One of these

exceptions, the DFE, provides that the Government has not waived sovereign immunity for claims

“based upon the exercise or performance or the failure to exercise or perform a discretionary


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function or duty on the part of a federal agency or an employee of the Government, whether or not

the discretion involved be abused.” 28 U.S.C. § 2680(a). The purpose of the DFE is “to prevent

judicial second guessing of legislative and administrative decisions grounded in social, economic,

and political policy through the medium of an action in tort.” United States v. Varig Airlines,

467 U.S. 797, 808, 814 (1984); see also Berkovitz v. United States, 486 U.S. 531, 536-37 (1988).

       A court’s determination as to whether the DFE shields the government from liability

involves a two-step analysis derived from two Supreme Court cases: Berkovitz, 486 U.S. at 531,

and United States v. Gaubert, 499 U.S. 315 (1991). According to the Berkovitz-Gaubert test, the

DFE bars suit only if two conditions are met:

       (1) the acts alleged to be negligent must be discretionary, in that they involve an
       ‘element of judgment or choice’ and are not compelled by statute or regulation and
       (2) the judgment or choice in question must be grounded in ‘considerations of
       public policy’ or susceptible to policy analysis.

Coulthurst, 214 F.3d at 109 (citing Berkovitz, 486 U.S. at 536; Gaubert, 499 U.S. at 322-23). As

to the second prong, “[t]he focus of the inquiry is not on the agent’s subjective intent in exercising

the discretion conferred by statute or regulation, but on the nature of the actions taken and on

whether they are susceptible to policy analysis.” Gaubert, 499 U.S. at 325 (emphases added).

       In evaluating the applicability of the DFE under the first prong of the Berkovitz-Gaubert

test, courts evaluate whether legal authority afforded the government officials the discretion to act

as they did at the time of the conduct, not in light of subsequent court decisions. Campos v. United

States, 888 F.3d 724, 735 (5th Cir. 2018) (DFE “exists to leave sovereign immunity in place unless

the official had clear guidance on what to do” in the relevant circumstances); cf. Shivers v. United

States, 1 F.4th 924, 931 (11th Cir. 2021) (rejecting argument that Eighth Amendment violation

precluded application of DFE and noting the absence of specific prohibition as to challenged

conduct), cert. denied, 142 S. Ct. 1361 (2022).



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       Here, the Government’s alleged conduct—in referring Leticia for prosecution for unlawful

entry, detaining her pending the resolution of her immigration court proceedings, and day-to-day

management and operational decisions in detention facilities (to the extent made by federal

employees rather than independent contractors)—satisfies both steps of the analysis.

               1.      The DFE Bars Claims Arising from Leticia’s Referral for Prosecution

       The decision to refer Leticia for prosecution for unlawful entry, which resulted in the

separation of Plaintiffs, was plainly a discretionary decision susceptible to policy analysis, and

thus the DFE bars Plaintiffs’ IIED, negligence, and abuse of process claims arising from this

prosecution and Plaintiffs’ resulting separation.

       It is well established that the Government’s determination as to whether to prosecute is a

discretionary determination, thus satisfying the first prong of the Berkovitz-Gaubert test. The

Supreme Court has recognized that the Attorney General and United States Attorneys “retain broad

discretion to enforce the Nation’s criminal laws.” United States v. Armstrong, 517 U.S. 456, 464

(1996) (quotation marks omitted); see also In re United States, 945 F.3d 616, 627 (2d Cir. 2019)

(“[S]o long as the prosecutor has probable cause to believe that the accused committed an offense

defined by statute, the decision whether or not to prosecute, and what charge to file or bring before

a grand jury, generally rests entirely in his discretion.”) (citation omitted); United States v.

Jennings, 652 F.3d 290, 300 (2d Cir. 2011) (“Article II of the Constitution gives the Executive

Branch of the government exclusive authority and absolute discretion to decide whether to

prosecute a case”) (internal quotation marks and citation omitted); Blanco Ayala v. United States,

982 F.3d 209, 217 (4th Cir. 2020) (noting that “[d]iscretion lies at the heart of the DHS law

enforcement function” and, in exercising this function, DHS agents must make “the kinds of

classic judgment calls the discretionary function exception was meant to exempt from tort

liability.”). Further, with respect to the second prong of the Berkovitz-Gaubert test, courts also


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recognize that prosecutorial decisions are deeply rooted in important policy considerations. See

Blanco Ayala, 982 F.3d at 217 (recognizing that prosecutorial decisions in immigration context

are “infused with public policy considerations” and collecting cases).

       Indeed, a recent decision, S.E.B.M. by & through Felipe v. United States, No. 1: 1:21-cv-

00095 (JHR)(LF), 2023 WL 2383784, (D.N.M. Mar. 6, 2023), is instructive. There, as here, an

FTCA suit grounded in an allegedly tortious family separation upon a parent’s referral for

prosecution was dismissed on the basis of the DFE. Id. at *15. There, the court concluded that the

decision to prosecute is “perhaps the prototypical discretionary function the [DFE] is intended to

protect from liability.” Id. at *14. Here, too the Court should similarly conclude. See also Caronia

v. United States, No. 13-cv-5758 (FB), 2015 WL 4872558, at *5 (E.D.N.Y. Aug. 13, 2015)

(“Prosecutorial decisions as to whether, when and against whom to initiate prosecution are

quintessential examples of governmental discretion in enforcing the criminal law, and,

accordingly, courts have uniformly found them to be immune under the discretionary function

exception.” (quoting Gray v. Bell, 712 F.2d 490, 513 (D.C. Cir. 1983))), aff’d sub nom. Caronia

v. Orphan Med., Inc., 643 F. App’x 61 (2d Cir. 2016); see also Wang v. United States, No. 01-cv-

1326 (HB), 2001 WL 1297793, at *4 (S.D.N.Y. Oct. 25, 2001) (DFE applied to prosecution

decision notwithstanding allegations that “prosecutors were motivated by ‘political and ideological

reasons’” and noting that “the [DFE] is indifferent to the government actor’s motivation”), aff’d,

61 F. App’x 757 (2d Cir. 2003).

       Plaintiffs’ separation occurred as a result of Leticia’s referral for prosecution. Thus,

Plaintiffs’ claims challenging their separation, which arise from Leticia’s referral for prosecution,

are barred by the DFE. As another court concluded in dismissing an FTCA action arising from the

plaintiff’s separation from his family following his arrest for illegal entry, “the decision to




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prosecute rests in the absolute discretion of the United States Attorney General, and once the

discretionary decision to prosecute is made, the separation of prisoners from their families is

plainly legal.” Peña Arita v. United States, 470 F. Supp. 3d 663, 686 (S.D. Tex. 2020); see also

S.E.B.M., 2023 WL 2383784, at *15 (“[T]he government’s prosecution of S.E.B.M.’s father,

which immediately caused her to be separated from him, was a discretionary decision that violated

no federal law cited by the parties and which was protected from liability by the [DFE]”).

               2.      The DFE Bars Claims Arising from Leticia’s Detention

       The DFE also independently applies to and bars Plaintiffs’ IIED, negligence, and abuse of

process claims to the extent that they arise from the Government’s decision to detain Leticia

pending her immigration court proceedings, and its decisions as to where to detain her during that

time frame. See Cplt. ¶¶ 106-119.

       As to the first DFE prong, the Government has discretion whether to detain, and to decide

where to detain, a noncitizen in connection with removal proceedings. See, e.g., Nielsen v. Preap,

139 S. Ct. 954, 959 (2019) (8 U.S.C. § 1226(a) “sets out the general rule regarding [the] arrest and

detention [of most noncitizens] pending a decision on removal” and generally “gives the Secretary

the discretion either to detain the alien or to release him on bond or parole.”). “Congress has placed

the responsibility of determining where aliens are detained within the discretion of the [Secretary

of Homeland Security].” Cmtte. Of Cent. Am. Refugees v. I.N.S., 795 F.2d 1434, 1440 (9th Cir.

1986); see also 8 U.S.C. § 1231(g) (“The [Secretary] shall arrange for appropriate places of

detention for aliens detained pending removal or a decision on removal.”).

       Moreover, as to the second DFE prong, detention decisions, like decisions to prosecute,

are also “susceptible to” important policy considerations. Decisions relating to placement and

detention in the immigration context are so “vitally and intricately interwoven with

contemporaneous policies [and] so exclusively entrusted to the political branches of government


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as to be largely immune from judicial inquiry or interference.” Cmtte. Of Cen. Am. Refugees, 795

F.2d at 1440 (quoting Harisiades v. Shaughnessy, 342 U.S. 580 (1951)); see also Bailor v.

Salvation Army, 51 F.3d 678, 685 (7th Cir. 1995) (decisions regarding whether to detain or release

are policy-based decisions protected by the DFE); Lipsey v. United States, 879 F.3d 249, 255 (7th

Cir. 2018) (placement decisions are susceptible to policy analysis); Wood v. United States, 175

Fed App’x 419, 420 (2d Cir. 2006) (“[T]he Attorney General, in the exercise of his statutory

discretion in light of the available facilities, determined to hold [petitioner] in an Arizona detention

center.”).This discretion necessarily encompasses decisions regarding with whom a noncitizen will

be detained, including whether an adult and a minor can be detained in the same facility and

whether to detain family members together. Peña Arita, 470 F. Supp. 3d at 691-92 (decisions by

DHS to separate family members protected by DFE).

       Thus, while Plaintiffs challenge their continued separation during Leticia’s detention while

her immigration court proceedings were pending, and thus her inability to apply to sponsor Yovany

as a parent within the United States, see Cplt. ¶¶ 77-78, their claims are barred because the

Government’s decision to detain rather than to release Leticia, and its decision where to detain her,

were discretionary decisions susceptible to policy analysis. See Peña Arita, 470 F. Supp. 3d at

691–92 (holding, in FTCA action, decisions by DHS concerning where to house noncitizens are

protected by the DFE, even if those decisions resulted in the separation of family members).

       The discretionary function exception also covers the determination that Yovany was an

“unaccompanied alien child” within the meaning of the TVPRA. See 6 U.S.C. § 279(g)(2).

Whether a parent is “available to provide care and physical custody” is a policy question vested in

federal officials. See D.B. v. Preston, 119 F. Supp. 3d 472, 482-83 (E.D. Va. 2015) (“Federal

agencies are afforded discretion under the statutory scheme when classifying juveniles as




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unaccompanied alien children.”), aff’d in part and vacated in part, 826 F.3d 721 (4th Cir. 2016);

see also Baie v. Secretary of Def., 784 F.2d 1375, 1377 (9th Cir. 1986) (“interpretation of the

statute is a plainly discretionary administrative act the ‘nature and quantity’ of which Congress

intended to shield from liability under the FTCA”); Villanueva v. United States, 708 F. Supp. 2d

960, 975 (D. Ariz. 2009) (“An agency’s interpretation of its statutes and regulations is protected

by the [DFE].”). The DFE accordingly protects the government’s determination after Leticia was

referred for prosecution that Yovany be designated unaccompanied such that, as a UAC, he was

required to be transferred to ORR custody. See 8 U.S.C. § 1232(b)(3).

               3.      Plaintiffs’ Challenges to the Conditions of Their Confinement Are
                       Barred by the DFE

       Plaintiffs also challenge certain aspects of their conditions of confinement, including the

frequency of communications between Plaintiffs and overcrowding (id., ¶¶ 30-31, 113). To the

extent these acts were performed by government officials, rather than independent contractors (but

see infra Part II.D), these claims are barred by the DFE. As numerous courts have recognized, the

manner in which the Government manages and operates its detention facilities involves

discretionary decisions susceptible to policy considerations. See Huff v. Neal, 555 F. App’x 289,

298–99 (5th Cir. 2014) (per curiam) (DFE applied to placement of inmates and internal prison

security); Patel v. United States, 398 F. App’x 22, 29 (5th Cir. 2010) (per curiam) (DFE applied

to decision to transfer prisoner); Bultema v. United States, 359 F.3d 379, 384 (6th Cir. 2004)

(decision not to provide bed rails susceptible to policy considerations); Lineberry v. United States,

3:08-cv-0597, 2009 WL 763052, at *6 (N.D. Tex. Mar. 23, 2009) (allegation of overcrowding in

prison barred by DFE); Antonelli v. Crow, 08-261, 2012 WL 4215024, at *3 (E.D. Ky. Sept. 19,

2012) (collecting cases in which conditions of confinement claims were barred by the DFE).




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        Thus, in Peña Arita, also an FTCA case arising from a family separation, the court

concluded that the DFE barred plaintiffs’ conditions of confinement claims, including those arising

out of the manner in which one of the plaintiffs was housed. Such actions are “susceptible to policy

analysis,” and the court “must generally defer to the expertise of prison officials and is not to

substitute its judgment for the considerations of such officials.” 470 F. Supp. 3d at 691. See also

S.E.B.M., 2023 WL 2383784, at *16 (rejecting challenge to government’s conduct in providing

only short calls between plaintiffs, a father and daughter who were separated, noting that Flores

agreement “provides no time parameters for how long or frequent calls between children and their

family members should be . . . likely because immigration detention involves unique security

concerns that makes it difficult for detainees to be available for regular calls and thus flexibility is

necessary.”); Harrison v. Fed. Bureau of Prisons, 464 F. Supp. 2d 552, 559 (E.D. Va. 2006)

(BOP’s provision of telephone services is “a matter committed to its discretion that will not be

second-guessed through an FTCA claim”).

                4.      Allegations of Unconstitutional Conduct Do Not Foreclose The DFE

        The discretionary conduct at issue in this case does not become the basis of an FTCA claim

merely because Plaintiffs allege that conduct also constituted constitutional violations. See Cplt.

¶¶ 98-105. Congress did not create the FTCA to address constitutional violations, but rather to

address violations of state tort law committed by federal employees. See Meyer, 510 U.S. at 477

(“§ 1346(b) does not provide a cause of action for” a “constitutional tort claim”).

        A plaintiff cannot avoid the limits of the FTCA—and, in particular, the DFE—merely by

contending that the government has no discretion to violate the Constitution. The DFE does not

admit of such a simplistic analysis; as the Court explained in Gaubert, the exception does not apply

where “a federal statute, policy, or regulation specifically prescribes a course of action for an

employee to follow,” for in that situation, there is no further discretion to exercise. 499 U.S. at


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322. The analysis for alleged violations of constitutional norms should be the same. In some cases,

the Constitution (either by its text or by judicial decision) may establish such a clear and specific

prescription that it removes an official’s discretion, but the requirement of specificity must be

present with the same force whether the prescription is found in the Constitution or a statute—and

must have been present when the challenged official action took place. 6

         For this reason, numerous courts have found claims barred by the DFE, notwithstanding

an allegation that the challenged conduct was unconstitutional, where there was no sufficiently

specific prohibition barring the challenged conduct at the time that conduct occurred. See, e.g.,

Shivers, 1 F.4th at 931 (holding that DFE applied notwithstanding allegation of Eighth Amendment

violation and stressing that “only when a federal employee acts contrary to a specific prescription

in federal law—be it a statute, regulation, or policy—does the discretionary function exception not

apply”) (emphasis in this original), cert. denied, 142 S. Ct. 1361 (2022); McElroy v. United States,

861 F. Supp. 585, 593 (W.D. Tex. 1994) (“[T]he statutory or constitutional mandate that eliminates



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  Although the Second Circuit, in Myers & Myers, Inc. v. U.S. Postal Serv., 527 F.2d 1252, 1261 (2d Cir. 1975), stated
that officials have no discretion to violate the constitution, that case did not address whether decisions about the
constitutionality of discretionary conduct preclude the DFE where those decisions post-dated the conduct at issue such
that the law at the time of the conduct was insufficiently specific. In any event, the Shivers approach – set forth in the
text above – is the most consistent with the doctrine of sovereign immunity as well as the text and purpose of the
FTCA. First, “[w]hen waiving the Government’s sovereign immunity, Congress must speak unequivocally.” F.A.A.
v. Cooper, 566 U.S. 284, 299 (2012). The waiver “must be ‘unequivocally expressed’ in statutory text, and cannot
simply be implied.” Adeleke, 355 F.3d at 150 (quoting Nordic Vill., Inc., 503 U.S. at 33). The FTCA’s DFE provision
contains no carve-out for conduct later determined by some courts to be unconstitutional. Second, even if it did, which
it does not, it is beyond question that the FTCA does not waive sovereign immunity for “constitutional torts.” See,
e.g., Hernandez v. United States, 939 F.3d 191, 205 (2d Cir. 2019); Meyer, 510 U.S. at 477; see also Butz v. Economou,
438 U.S. 478 (1978) (observing that “no compensation would be available from the Government” in suits alleging
that officials’ discretionary conduct violated the Constitution, because the FTCA “prohibits recovery for injuries
stemming from discretionary acts, even when that discretion has been abused.”); Shivers 1 F. 4th at 931 (“[T]he FTCA
is not based on alleged constitutional violations, and a plaintiff cannot circumvent the limitations on constitutional tort
actions under Bivens—including the qualified-immunity doctrine—by recasting the same allegations (1) as a common-
law tort claim under the FTCA that is not subject to the discretionary function exception or (2) as negating the
discretionary function defense.”). Indeed, as the Second Circuit recognized, “[t]he House Report accompanying the
bill that became the FTCA included the specific statement that it is neither ‘desirable [n]or intended that the
constitutionality of legislation, or the legality of a rule or regulation, should be tested through the medium of a damage
suit for tort.’” C.P. Chem. Co. v. United States, 810 F.2d 34, 36–37 (2d Cir. 1987) (citing H.R.Rep. No. 1287, 79th
Cong., 1st Sess. 6 (1945) among other components of the FTCA’s legislative history).



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discretion must be specific and intelligible so that the officer[] knows or should know he loses

discretion when the particular circumstances arise which the mandate controls.”); Garza v. United

States, 161 F. App’x 341, 343–44 (5th Cir. 2005) (rejecting allegation that Eighth Amendment

violation precluded application of DFE, and instead deciding to “join [its] sister circuits in

recognizing that … the Eighth Amendment’s prohibition against cruel and unusual punishment

[does not] define a non-discretionary course of action specific enough to render the discretionary

function exception inapplicable”); Campillo v. U.S. Penitentiary Beaumont, Tex., 203 F. App’x

555 (5th Cir. 2006) (per curiam) (same); Linder v. United States, 937 F.3d 1087, 1090 (7th Cir.

2019) (prosecutorial decisions protected by discretionary function exception notwithstanding

subsequent district court decision dismissing indictment on the basis of Sixth Amendment

violation); Kiiskila v. United States, 466 F.2d 626, 627-28 (7th Cir. 1972) (DFE applied to military

base commander’s decision to prohibit civilian employee entering base notwithstanding later

determination that decision violated First Amendment).

        Here, Plaintiffs have failed to allege the violation of any constitutional provision with the

degree of specificity required by Gaubert. Nor do they allege a violation of a specific constitutional

right that was clearly established at the times relevant to their complaint. Plaintiffs allege that their

substantive due process right to family integrity was violated, see Cplt. ¶¶ 99-101, but they point

to no decision clearly establishing that such a right was absolute in the immigration context at the

time of the separation. See S.E.B.M., 2023 WL 2383784, at *15 (“Although S.E.B.M.’s right to

associate with her father is constitutionally protected, it does not outweigh the government's

interest in enforcing its immigration policy.”); see also, e.g., Gordon v. Mule, 153 Fed. Appx. 39

(2d Cir. 2005) (holding that right to family unity was not violated when petitioner, a parent of a

U.S. citizen, was ordered removed after conviction of crime); Reyna as next friend of J.F.G. v.




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Hott, 921 F.3d 204, 210-11 (4th Cir. 2019) (“[W]e . . . have been unable to find a substantive due

process right to family unity in the context of immigration detention pending removal.”); Aguilar

v. ICE, 510 F.3d 1, 6 (1st Cir. 2007) (holding, in case challenging an unannounced ICE raid which

rendered a substantial number of minor children left without adult supervision, that “the

evenhanded enforcement of the immigration laws, in and of itself, cannot conceivably be held to

violate substantive due process” and that “[a]ny interference with the right to family integrity

alleged here was incidental to the government’s legitimate interest in effectuating detentions

pending the removal of persons illegally in the country”); Delgado v. INS, 637 F.2d 762, 763 (10th

Cir. 1980) (separation of a parent from child incidental to the parent’s deportation does not violate

either’s constitutional rights).

        At most, Plaintiffs have pointed to subsequent district court decisions concluding that the

prior Administration’s policies resulting in family separations were unconstitutional. In evaluating

the DFE under the first prong of the Berkovitz-Gaubert test, courts evaluate whether, at the time

of the conduct, the law afforded officials the discretion to act as they did, not in light of subsequent

court decisions. See supra at 20. Whether, in retrospect, those policies—which postdate the

separation here—violated a constitutional right has no bearing on the application of the DFE in

this case. For similar reasons, Plaintiffs’ allegation of a procedural due process violation based on

a district court decision postdating the separation here, see Cplt. ¶¶ 104-05, is unavailing.

        Plaintiffs’ allegations of an equal protection violation, see Cplt. ¶¶ 102-03, fare no better.

Plaintiffs allege that their separation was “motivated by discriminatory animus towards Latino

immigrations of Central American origin,” id., but Plaintiffs must allege “intentional

discrimination,” not simply that they were affected more than members of another race.

Washington v. Davis, 426 U.S. 229, 241 (1976). Plaintiffs’ equal protection theory has been




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rejected by the Supreme Court in Department of Homeland Security v. Regents of the University

of California, 140 S. Ct. 1891, 1915 (2020). There, the Court rejected the plaintiffs’ argument that

the rescission of the Deferred Action for Childhood Arrivals program was based on racial animus,

as evidenced by the rescission’s disparate impact on Latinos from Mexico. See id. at 1915-16. The

Court explained that, because Latinos make up a large share of unauthorized noncitizens, it would

not be surprising if they were affected in greater proportion by the rescission. See id. The Court

added that “[w]ere this fact sufficient to state a claim, virtually any generally applicable

immigration policy could be challenged on equal protection grounds.” Id.; see also United States

v. Lucas-Hernandez, No. 19-24522, 2020 WL 6161150, at *3 (S.D. Cal. Oct. 21, 2020) (rejecting

equal protection claim where plaintiff attempted to show racial animus by pointing to disparate

impact on Latinos because “[t]he disparate impact is more readily explained by the geographic

proximity of the border to Mexico and Latin America than by animus”). Thus, Regents squarely

forecloses Plaintiffs’ equal protection theory.

         Plaintiffs’ allegations of unconstitutionality do not bar the application of the DFE here. 7

         C.        The Exception for Actions Taken While Reasonably Executing the Law Bars
                   Claims Arising from Transfer to ORR Custody

         Alternatively, to the extent Plaintiffs frame their IIED, negligence, and abuse of process

claims as challenging the government’s nondiscretionary decision to transfer Yovany to ORR

custody upon his designation as a UAC, 8 such challenge is barred by the FTCA’s exception for


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  In other cases, district courts have held that the DFE is inapplicable because the plaintiffs allege that the Constitution
was violated. See, e.g., A.P.F. v. United States, 492 F. Supp. 3d 989, 996 (D. Ariz. 2020). But those cases failed to
follow the rule, established in Gaubert, that an official loses discretion only if a source of law “specifically prescribes”
the course of conduct. See Gaubert, 499 U.S. at 322 (1991). Here, the Complaint points to no authority specifically
proscribing, at the relevant time, the referral to prosecution, decisions as to whether and where to detain, referral to
ORR as a UAC, and, to the extent not barred by the independent contractor exception, the number of calls between
Leticia and Yovany.
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  And to the extent that the Court finds that the prosecution referral, being discretionary, does not also preclude under
the DFE this conduct arising therefrom.



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actions taken while reasonably executing the law.

       In addition to carving out claims based on discretionary conduct from the FTCA’s waiver

of sovereign immunity, Congress also carved out any claim “based upon an act or omission of an

employee of the Government, exercising due care, in the execution of a statute or regulation,

whether or not such statute or regulation be valid.” 28 U.S.C. § 2680(a). This provision “bars tests

by tort action of the legality of statutes and regulations.” Dalehite v. United States, 346 U.S. 15,

33 (1953); Clayton v. United States, 2019 WL 9283977, at *5 n.22. See also C.P. Chem. Co., Inc.

v. United States, 810 F.2d 34, 38 (2d Cir. 1987) (“It is clear that § 2680(a) was intended to protect

the validity of governmental regulations from challenge in a tort action for damages.”).

       Here, the exception bars Plaintiffs’ IIED, negligence, and abuse of process claims to the

extent Plaintiffs challenge Yovany’s transfer to ORR custody. As a result of Leticia’s referral for

prosecution and related detention in a secure facility, she was unable to provide for Yovany’s care

and physical custody, and the Government determined in its discretion that Yovany was a UAC.

See 6 U.S.C. § 279(g)(2). Next, as a consequence of Yovany being a UAC, the TVPRA required

Yovany’s transfer to ORR custody. The TVPRA requires that “any department or agency of the

Federal Government that has an unaccompanied alien child in custody shall transfer the custody

of such child to [ORR custody] not later than 72 hours after determining that such child is an

unaccompanied alien child.” 8 U.S.C. § 1232(b)(3); see also 6 U.S.C. §§ 279(b)(1)(A) (ORR

tasked with “the care and placement of [UACs] who are in Federal custody by reason of their

immigration status”). ORR in turn must place UACs “in the least restrictive setting that is in the

best interest of the child.” 8 U.S.C. § 1232(c)(2)(A). Pursuant to this requirement, ORR generally

places minors in its custody into ORR-funded, state-licensed care provider facilities while

attempting to unify minors with a sponsor. See De La Cruz Decl. ¶ 1.




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       Thus, Plaintiffs’ challenge to the Government’s transfer of Yovany to ORR custody

pending his reunification with a sponsor, which it was required to do, is not cognizable under the

FTCA. See S.E.B.M., 2023 WL 2383784, at *16 (dismissing under the due care exception a FTCA

claims for IIED and negligence CBP’s arising from UAC determination as to minor, which had

been predicated on father’s detention, notwithstanding plaintiff’s allegation that the government

failed to use due care to minimize the trauma arising from separation).

       D.      The Independent Contractor Doctrine Bars Plaintiffs’ Negligence,
               IIED, and Assault and Battery Claims Arising From Alleged Conduct and
               Conditions at West Texas Detention Center and Casa Kokopelli

       To the extent that Plaintiffs argue that their IIED, negligence, or assault and battery claims

arise from conduct or conditions that Plaintiffs allegedly experienced at the West Texas Detention

Facility and/or Casa Kokopelli, both of which Plaintiffs concede are privately run entities, see

Cplt. ¶¶ 34-52; 59-73, those claims are barred by the independent contractor exception to the

FTCA. Accordingly, assuming that the Court finds that these claims are not barred by the DFE or

the exception for actions taken while executing the law, the Court nonetheless lacks jurisdiction.

       The FTCA does not waive sovereign immunity for torts committed by independent

contractors. 28 U.S.C. § 2671 (“does not include contractors with the United States”); United

States v. Orleans, 425 U.S. 807, 813-14 (1976); Roditis v. United States, 122 F.3d 108, 111 (2d

Cir. 1997); Korotkova v. United States, 990 F. Supp. 2d 324, 327 (E.D.N.Y. 2014). Whether one

“is a government employee or an independent contractor is a question of federal law.” Leone v.

United States, 910 F.2d 46, 49 (2d Cir. 1990) (citing Logue v. United States, 412 U.S. 521, 528

(1973)). The “critical element” is whether the government has the power to “to control the detailed

physical performance of the contractor,” Orleans, 425 U.S. at 807 (quoting Logue, 412 U.S. at

528), and to supervise “day-to-day operations.” Id. at 815.




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       Here, to the extent that Plaintiffs premise their IIED, negligence, or assault and battery

claims on conduct—namely, the maintenance of conditions of confinement—that allegedly

occurred at privately run detention facilities, see Cplt. ¶¶ 107, 113, those claims are barred. The

Complaint alleges that from approximately November of 2017 until her deportation on June 18,

2018, Leticia was housed in “the West Texas Detention Facility in Sierra Blanca, Texas, which is

operated by the private contractor LaSalle Corrections.” Cplt. ¶¶ 34, 38-42. Leticia alleges that

during her detention at this facility, staff members refused to provide her with information

regarding Yovany. Cplt. ¶ 40. Leticia also alleges that conditions at the West Texas Detention

Center were unsanitary, that she lacked appropriate quantities of personal hygiene items, that she

was subjected to discourteous and ridiculing conduct by staff, and that food and water were

provided, but unsatisfactory. Cplt. ¶¶ 49-52.

       In a similar vein, Plaintiffs allege that while at Casa Kokopelli, a shelter for unaccompanied

children located in Mesa, Arizona, and operated by Southwest Key, Yovany was subjected to

“unsanitary and harsh” conditions, specifically “extremely low” temperatures and long waits “with

other kids” to be escorted by staff to restrooms, which were allegedly “unsanitary and not

adequately cleaned.” Cplt. ¶¶ 59-73. Yovany alleges that staff members did not provide him

information about his mother, although Plaintiffs acknowledge that staff helped to locate his

mother and facilitated communication by telephone. Cplt. ¶¶ 68-69, 73.

       Plaintiffs acknowledge that these facilities were privately run entities. See Cplt. ¶¶ 34, 59.

The Complaint is devoid of factual allegations giving rise to any inference, let alone a plausible

inference, that the Government supervised the day-to-day operations of West Texas Detention

Facility or Casa Kokopelli such that their staff members were acting within the scope of federal

employment within the meaning of the FTCA. This alone is a fatal deficiency in Plaintiffs’ case.




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        In short, even assuming, for purposes of this motion, that Plaintiffs’ allegations about their

conditions of confinement are true, such cannot give rise to liability under the FTCA. 9 Walding v.

United States, 955 F. Supp. 2d 759, 804 (W.D. Tex. 2013) (holding that the independent contractor

exception barred negligence claim against the United States based on an alleged failure to maintain

a safe and healthy detention facility for minors housed pending immigration proceedings).

        Therefore, this Court should dismiss these claims for lack of subject matter jurisdiction.

        E.       Plaintiffs’ Negligence and Abuse of Process Claims Are Not Cognizable
                 Because There Is No Private Analogue

        Plaintiffs’ negligence and abuse of process claims also warrant dismissal because of the

lack of a private analogue. The FTCA’s waiver of sovereign immunity is limited to “circumstances

where the United States, if a private person, would be liable to the claimant in accordance with the

law of the place where the act or omission occurred.” 28 U.S.C. § 1346(b)(1); see also 28 U.S.C.

§ 2674. In other words, the waiver only applies to claims for which a private analogue exists.

McGowan v. United States, 825 F.3d 118, 125 (2d Cir. 2016); see also Chen v. United States, 854

F.2d 622, 626 (2d Cir. 1988) (there is no liability under the FTCA based on “action of the type that

private persons could not engage in and hence could not be liable for under local law”).

        The FTCA “requires a court to look to the state-law liability of private entities, not to that

of public entities, when assessing the Government’s liability under the FTCA [even] in the

performance of activities which private persons do not perform.” Olson, 546 U.S. at 46 (quotation

omitted). “To satisfy the private analogue requirement, the plaintiff must show that his [or her]

claim is comparable to a cause of action against a private citizen recognized in the jurisdiction

where the tort occurred, and his [or her] allegations, taken as true, . . . satisfy the necessary elements


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  To the extent Plaintiffs wish to assert such claims, their remedy is a suit against the independent contractors
specifically, not against the United States. Cf. W.P.V., 2023 WL 1991426 (family separation case in which plaintiffs
named independent contractor as a co-defendant).



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of that comparable state cause of action.” Carter v. United States, 494 F. App’x 148, 149 (2d Cir.

2012) (quotation marks omitted); see also McGowan, 825 F.3d at 128 (dismissing negligence and

false imprisonment claims because there is no private analogue under New York law).

       Here, the relevant state law is that of Texas. Plaintiffs allege that their harms are based on

the Government’s decision in Texas to enforce federal immigration laws and to hold Leticia in

custody in Texas pending prosecution and immigration proceedings in Texas, resulting in

Yovany’s placement in the custody of ORR. Cplt. ¶¶ 1, 23. Under Texas law, there is no private

analogue to the federal government’s responsibility for initiating removal proceedings against an

individual who is unlawfully present and effectuating related detention. See Lopez-Flores v.

Ibarra, No. 1:17-cv-00105, 2018 WL 6577955, at *4 (S.D. Tex. Mar. 12, 2018) (finding no private

analogue for an abuse of process claim tied to coercive conduct and removal proceedings). Thus,

the acts of detaining Plaintiffs in Texas after their initial unlawful entry in Texas, and prosecuting

Leticia in Texas, to the extent they form the basis for Plaintiffs’ negligence and abuse of process

claims, have no private analogue.

       In addition, and closely intertwined, Texas law does not impose a legal duty to prevent

separation, such that the separation of Plaintiffs Leticia and Yovany would give rise to an

analogous private negligence claim under Texas law. As one court recently found in assessing

Texas law in the context of family separation, there is no private analogue to provide the necessary

predicate for an FTCA claim for negligence, warranting dismissal of the negligence claim.

S.E.B.M., 2023 WL 2383784, at *9. In S.E.B.M., like this case, the court addressed the separation

of a father and two-year-old child after the father was prosecuted for unlawful entry and his child

was placed into the care of ORR. Id. at *2. The district court determined that it lacked jurisdiction

over the plaintiffs’ negligence claim because, among other reasons, under Texas law, there was no




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private analogue for negligence based on family separation. Id. at *9. As stated by the court,

“[a]lthough there is no doubt that extended physical separation from a parent or relative at that age

is psychologically harmful, S.E.B.M. does not show the Court any analogous legal duty to prevent

it” under Texas (or New Mexico) law. Id. Similarly here, as a private person could not be found

liable for negligence based upon the separation at issue, there is no private analogue.

         F.       The § 2680(c) Exception to the FTCA Bars The Conversion Claim

         Plaintiffs’ conversion claim—which is based on Leticia’s alleged loss of personal property

in connection with her initial detention by CBP officers—is independently barred by the FTCA’s

carve-out for claims relating to the “detention of goods” by customs or law enforcement officers.

See 28 U.S.C. § 2680(c). The Supreme Court has broadly construed this exception as rendering

the United States immune from “any claim ‘arising out of the detention of goods’” including “a

claim resulting from the negligent handling or storage of detained property.” Ford v. United States,

85 F. Supp. 3d 667, 670-71 (E.D.N.Y. 2015) (applying exception to conversion claim arising from

conduct of ICE officers) (citing Kosak v. United States, 465 U.S. 848, at 854 (1984)).

III.     DISMISSAL IS WARRANTED FOR FAILURE TO STATE A CLAIM

         Assuming arguendo that any part of the suit is neither transferred nor dismissed for lack of

subject matter jurisdiction, the claims should still be dismissed for failure to state a claim. FTCA

claims are governed by the law of the state where the tort occurred, see 28 U.S.C. § 1346(b)(1),

and Plaintiffs have failed to state any actionable torts under the law of Texas (or, as relevant,

Arizona), 10 which is where the putatively tortious conduct occurred.

         A. Plaintiffs Fail to State a Claim for IIED

         Assuming arguendo that the Court were to conclude that it had jurisdiction over the IIED


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  Arizona law appears to apply to Plaintiffs’ claims for negligence or assault and battery arising from Yovany’s period
of residence at Casa Kokopelli.



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claim despite the application of the DFE, due care, and independent contractor exceptions to the

FTCA, the IIED claim still warrants dismissal for failure to state a claim.

       The elements of an IIED claim under Texas law are (1) the defendant acted intentionally

or recklessly; (2) the conduct was extreme or outrageous; (3) the actions of the defendant caused

the plaintiff emotional distress; and (4) the plaintiff’s resulting emotional distress was severe.

Wornick Co. v. Casas, 856 S.W.2d 732, 734 (Tex. 1993). The outrageous conduct element requires

conduct that “goes beyond all possible bounds of decency as to be regarded as atrocious and utterly

intolerable in a civilized society.” Id. Under Texas law, courts must determine as a matter of law

whether the alleged conduct may reasonably be regarded as so extreme and outrageous that it

permits recovery. Id.

       Here, Plaintiffs’ IIED claim is alleged to be based primarily on their separation, which was

a direct result of the enforcement of federal law. Cplt. ¶¶ 106-109. But, as a matter of Texas law,

the enforcement of federal immigration law does not constitute extreme or outrageous conduct,

even when it results in the separation of a parent from her child. E.g., Dillard Dep’t Stores v. Silva,

106 S.W.3d 789, 797 (Tex. App.—Texarkana 2003, pet. granted) (where probable cause exists for

an arrest, the decision to initiate criminal proceedings “cannot constitute outrageous behavior”),

aff’d in part, mod. in part on other grounds, 148 S.W.3d 370 (Tex. 2004). Indeed, the risk of

interference with the parent-child relationship is inherent to immigration detention. See also

Aguilar, 510 F.3d at 22 (rejecting substantive due process claim based on family separation

resulting from detention of a parent related to a removal proceeding, and noting that every such

detention of a parent “runs the risk of interfering in some way with the parent’s ability to care for

his or her children”); see also Payne-Barahona v. Gonzalez, 474F.3d 1, 3 (1st Cir. 2007) (holding

that, if a child had a constitutional right to object to his parent’s deportation, then it would be




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“difficult to see why children would not also have a constitutional right to object to a parent being

sent to prison or, during periods where the draft laws are in effect, to the conscription of a parent

for prolonged and dangerous military service”).

       To the extent the IIED claim is not based on Plaintiffs’ separation but instead on Plaintiffs’

allegations that various officials “engaged in insulting and taunting behavior,” Cplt. ¶ 107, these

allegations also fail to state an IIED claim. In the absence of allegations of physical contact, Texas

law does not extend IIED liability to “insults” and “indignities.” Ugalde v. W.A. McKenzie Asphalt

Co., 990 F.2d 239, 243 (5th Cir. 1993).

       Plaintiffs also cannot base an IIED claim on alleged conditions of confinement. Like the

Second Circuit, the Fifth Circuit has recognized that “suits for violations of federal constitutional

rights, even though tortious in nature, are not within the scope of the FTCA.” Sanchez v. Rowe,

870 F.2d 291, 295 (5th Cir. 1989); see also Castro v. United States, 34 F.3d 106, 110 (2d Cir.

1994). Under Texas law, claims challenging conditions of confinement, like those here, might

appear tortious in nature but they present, at bottom, constitutional challenges to conditions of

confinement, and as such are not actionable under the FTCA. Aguilar v. United States, No. 1:16-

CV-048, 2017 WL 6034652, at *4 (S.D. Tex. June 7, 2017).

       Finally, as to all the grounds for the IIED claim alleged, the IIED claim warrants dismissal

for another reason. In Texas, “the tort of IIED was intended to be “a ‘gap-filler’ tort, judicially

created for the limited purpose of allowing recovery in those rare instances in which a defendant

intentionally inflicts severe emotional distress in a manner so unusual that the victim has no other

recognized theory of redress.” Roe v. United States, 839 F. App’x 836, 847 (5th Cir. 2020) (quoting

Hoffmann-La Roche, Inc. v. Zeltwanger, 144 S.W.3d 438, 447 (Tex. 2004)). Here, Plaintiffs allege

(albeit deficiently) that the Government’s actions give rise to traditional tort liability, including




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negligence, abuse of process, assault, battery, and conversion. When these tort claims are available

(whether pled sufficiently or otherwise), IIED cannot lie. Thus, for this reason too, the IIED claim

warrants dismissal as a matter of law.

       B.      Plaintiffs Fail to State a Negligence Claim

       To prevail on a negligence claim under Texas law, Plaintiffs must establish the existence

of a duty, a breach of that duty, and physical injury supporting damages proximately caused by the

breach. Aguilar, 2017 WL 6034652, at *3. The elements are the same under Arizona law. Anderson

v. Armour, No. 16-cv-03563 (PHX)(JJT), 2021 WL 4950344, at *7 (D. Ariz. Oct. 25, 2021) (citing

Ryan v. Napier, 245 Ariz. 54, 425 P.3d 230, 235 (Ariz. 2018)) (“To recover on a negligence claim

in Arizona, a plaintiff must prove a duty requiring the defendant to conform to a standard of care;

a breach of that duty; a causal connection between breach and injury; and resulting damages.”).

Here, Plaintiffs have not identified any duty under Texas or Arizona law to keep them together.

See S.E.B.M. 2023 WL 2383784, at *9 (finding no such duty). To the extent the claim is based on

conduct while Yovany was housed in Arizona from November 2017 until August 2018, the claim

fails for another independent reason, in that Arizona law does not permit a negligence claim based

on intentional conduct, Nees v. City of Phoenix, No. 21-cv-01134 (PHX)(GMS), 2022 WL

17976322, at *3 (D. Ariz. Dec. 28, 2022), and all of the acts alleged by Plaintiffs are intentional.

In sum, the negligence cause of action, insofar as it arises from Plaintiffs’ separation or alleged

conditions of confinement, should be dismissed.

       C.      Plaintiffs Fail to State Claims for Assault and Battery

       Plaintiffs’ assault and battery claims arising out of their conditions of confinement are also

insufficient. Under Texas law, “[a]n assault occurs when a person is in apprehension of imminent

bodily contact, whereas a battery is committed when an individual actually sustains a harmful or

offensive contact to his or her person.” Aguilar, 2017 WL 6034652, at *5 (citing City of Watauga


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v. Gordon, 434 S.W.3d 586, 589 (Tex. 2014) (citation omitted)).” These torts have similar

elements under Arizona law. Phillips v. Lake Havasu City, No. 2008-cv-131, 2022 WL 4367618,

at *12 (D. Ariz. Sept. 21, 2022). Relatedly, under Texas law, conditions of confinement, however

unpleasant, do not give rise to assault or battery claims. Id. (finding no actionable assault or battery

claims arising from alleged conditions at a CBP detention facility including exposing detainees to,

inter alia, constant light, cold temperatures, and inadequate food and water).

        Here, Count IV of the Complaint, Cplt. ¶¶ 120-123, predicates the assault and battery

claims on conditions of detention such as “freezing cold temperatures without [the provision] of

dry clothes or other means of keeping warm.” Cplt. ¶ 121. Plaintiffs fail to identify the necessary

“apprehension of imminent bodily contact” or “actually sustain[ing] a harmful or offensive contact

to his or her person,” Aguilar, 2017 WL 6034652, at *5. To the extent that any of these conditions

were endured by Plaintiffs while they were in the care of federal employees (and not independent

contractors), they fail to state cognizable assault or battery claims as a matter of law. See Aguilar,

2017 WL 6034652, at *5 (dismissing assault and battery claims arising out of conditions of

confinement, because that failed to state a claim under Texas law).

        D.      Plaintiffs Fail to State a Claim for Abuse of Process

        Plaintiffs’ abuse of process claim should also be dismissed as a matter of law. The elements

of abuse of process under Texas law are: (1) the defendant made an illegal, improper, or perverted

use of the process, a use neither warranted nor authorized by the process; (2) the defendant had an

ulterior motive or purpose in exercising such illegal, perverted, or improper use of the process; and

(3) damage resulted to the plaintiff. Bossin v. Towber, 894 S.W.2d 25, 33 (Tex. App.—Houston

[14th Dist.] 1994), writ denied (Nov. 16, 1995). Implicit in the elements is the requirement that

the process in question be improperly used after it was issued. Hunt v. Baldwin, 68 S.W.3d at 130;

RRR Farms, Ltd. v. Am. Horse Prot. Ass’n, Inc., 957 S.W.2d 121, 133 (Tex. App.—Houston [14th


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Dist.] 1997, pet. denied) holding modified by Baty v. ProTech Ins. Agency, 73 S.W.3d 841 (Tex.

App—Houston [14th Dist.] 2001). Thus, under Texas law, there is an important corollary: “[w]hen

the process is used for the purpose for which it is intended, even though accompanied by an ulterior

motive, no abuse of process occurs.” Roe v. United States, 839 F. App’x 836, 846–47 (5th Cir.

2020) (quotation omitted). Instead, in that case, “[i]f wrongful intent or malice caused the process

to be issued initially, the claim is instead one for malicious prosecution.” Id. (quoting Bossin, 894

S.W.2d at 33)).

       Here, Plaintiffs’ abuse of process claim should be dismissed because they have not pled

facts showing that any federal employee “made an illegal, improper, or perverted use of [] process,

a use neither warranted nor authorized by the process.” Hunt, 68 S.W.3d at 129. See E.L.A. v.

United States, 2:20-cv1524-RAJ, 2022 WL 2046135, at *6 (W.D. Wash. June 3, 2022) (dismissing

claim for abuse of process under Texas law in family separation case). Plaintiffs allege in

conclusory fashion that the government acted to cause them trauma, induce them to abandon their

asylum claims, and deter future migrants from coming to the United States. Cplt. ¶ 117. Even if

credited, these allegations suggest only that the Government had ulterior motives for using legal

process, not that the Government used the process for a purpose other than the one for which it

was intended. That cannot sustain an abuse of process claim, under Texas law.

                                         CONCLUSION

       For the foregoing reasons, the Government respectfully requests that the Court grant its

motion to transfer this action to the Western District of Texas or, in the alternative, dismiss the

Complaint in its entirety, and for such other relief as the Court deems proper.




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Dated:   July 13, 2023
         Brooklyn, New York

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